           Case 8:20-cv-02618-PWG Document 12 Filed 09/16/20 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                         Southern Division


BINSAR RIONALD SIAHAAN,                          *
       Petitioner,
v.                                               *           Case No. 8:20-cv-02618
FRANCISCO MADRIGAL, et al.
                                                 *
       Respondents.
                                                 *
*      *       *      *       *      *       *       *       *      *      *        *     *



                                             ORDER


       Following the Zoom.Gov hearing held on September 14, 2020, counsel conferred and

submitted a joint proposed briefing schedule, ECF No. 11. The briefing schedule proposed by

counsel is APPROVED, and, subject to confirmation by the Court’s operations staff that the

schedule will permit a Zoom.Gov TRO hearing on October 2, 2020 at 2:00 P.M., there shall be a

hearing at that date and time. In the meantime, as agreed by counsel, the Court ORDERS that

the Respondents shall not remove the Petitioner from the United States until such time as the

Court rules on the TRO Motion.




                                                         /s/
                                                     ________________________
                                                     Paul W. Grimm
                                                     United States District Court
                                                     District of Maryland
                                                     Signed September 16, 2020
